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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 16-1275V
                                     Filed: January 29, 2019
                                       Not to be Published

*************************************
BETH COOK on behalf of B.T., a                 *
Minor Child,                                   *
                                               *
               Petitioner,                     *                 Damages decision based on
                                               *                 stipulation; diphtheria tetanus
 v.                                            *                 acellular pertussis/polio
                                               *                 (“DTaP/IPV”); influenza (“flu”)
SECRETARY OF HEALTH                            *                 vaccine; chronic inflammatory
AND HUMAN SERVICES,                            *                 demyelinating polyneuropathy
                                               *                 (“CIDP”)
               Respondent.                     *
                                               *
*************************************
Danielle A. Strait, Seattle, WA, for petitioner.
Althea Walker Davis, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

         On January 29, 2019, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that her child, B.T.,
suffered from an inflammatory demyelinating polyneuropathy or chronic inflammatory
demyelinating polyneuropathy (“CIDP”) that was caused by his October 24, 2013 receipt of
diphtheria tetanus acellular pertussis/polio (“DTaP/IPV”), influenza (“flu”), measles mumps
rubella (“MMR”), and varicella vaccines. Respondent denies that these vaccines caused
petitioner’s child’s CIDP or any other injury. Nonetheless, the parties agreed to resolve this

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). This means the decision will be available to anyone with access to the
Internet. Vaccine Rule 18(b) states that all decisions of the special masters will be made available to the
public unless they contain trade secrets or commercial or financial information that is privileged and
confidential, or medical or similar information whose disclosure would constitute a clearly unwarranted
invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and move to delete
such information prior to the document’s disclosure. If the special master, upon review, agrees that the
identified material fits within the banned categories listed above, the special master shall delete such
material from public access.
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matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards:

    a. A lump sum of $154,000.00 in the form of a check payable to petitioner, Beth Cook, as
       guardian/conservator of B.T.’s estate; and

    b. A lump sum of $11,000.00 in the form of a check payable to petitioner, Beth Cook,
       which amount represents compensation for past unreimbursed medical expenses.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.



Dated: January 29, 2019                                           /s/ Laura D. Millman
                                                                   Laura D. Millman
                                                                    Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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